
95 N.Y.2d 926 (2000)
LARRY J. LO MAGLIO, Respondent,
v.
CARMEN M. LO MAGLIO, Appellant. (Appeal No. 1.)
LARRY J. LO MAGLIO, Respondent,
v.
CARMEN M. LO MAGLIO, Appellant. (Appeal No. 2.)
Court of Appeals of the State of New York.
Submitted October 30, 2000.
Decided November 28, 2000.
*927 Appeal, insofar as taken from the Appellate Division order that affirmed Supreme Court's order denying appellant's motion to vacate the divorce decree and referring certain issues for a hearing, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such order does not finally determine the action within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
